Case:18-05288-EAG11 Doc#:220 Filed:06/26/19 Entered:06/26/19 14:56:05            Desc: Main
                            Document Page 1 of 2


                  IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF PUERTO RICO

   IN RE:                                        CASE NO. 18-05288 (EAG)

   SKYTEC, INC.                                  CHAPTER 11
   Debtor


      NOTICE OF APPEARANCE ON BEHALF OF THE MUNICIPALITY OF
                            CATAÑO

  TO THE HONORABLE COURT:

        Come the defendants, through their undersigned attorney, and respectfully STATE

  and PRAY:

        1.     The undersigned attorneys’ law firm has been retained to represent creditor

  Municipality of Cataño, Puerto Rico in the above captioned matter.

        2.     We hereby request that any correspondence addressed to the Municipality of

  Bayamón be mailed to the following address:

        Aldarondo & López Bras
        ALB Plaza
        #16 Carr.199
        Suite 400
        Guaynabo, P.R. 00969
        Tel. 787-474-5447
        Fax. 787-474-5451

        E-mail: icastro@alblegal.net;

        WHEREFORE: Respectfully, we are requesting from this Court to take notice of the

  above and accept the undersigned’s appearance as attorneys of record.
Case:18-05288-EAG11 Doc#:220 Filed:06/26/19 Entered:06/26/19 14:56:05   Desc: Main
                            Document Page 2 of 2


                                            2

        In Guaynabo, Puerto Rico, this June 26th, 2019.

                                         s/Iván M. Castro Ortiz
                                         USDC-PR NO. 214-703

                                         ALDARONDO & LÓPEZ BRAS
                                         ALB Plaza
                                         #16 Carr.199
                                         Suite 400
                                         Guaynabo, P.R. 00969
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